
ON APPLICATION FOR REHEARING
PER CURIAM.
In this and the companion cases with which it is consolidated the State of Louisiana, Department of Transportation and Development, the City of Natchitoches and Hartford Accident &amp; Indemnity Company have applied for a rehearing.
We amend our judgment rendered on original hearing in conformity with the per curiam attached to the opinion in Hardy, et al. v. State of Louisiana, Through Department of Highways, et al., 404 So.2d 981 (La.App. 3rd Cir. 1981), our docket number 8276 so as to give effect to the limits of liability set forth in the policy of Hartford Accident &amp; Indemnity Company. Any recovery by plaintiff herein against Hartford shall be subject to apportionment as provided by law.
APPLICATIONS FOR REHEARING DENIED.
